                Case 2:21-cv-00556-NJK Document 29 Filed 10/12/21 Page 1 of 5




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 5                               UNITED STATES DISTRICT COURT
 6                                       DISTRICT OF NEVADA
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 8   PAULINE SHIEGEL,                                            Case No. 2:21-cv-00556-NJK
 9          Plaintiff(s),                                                    ORDER
10   v.
11   KILOLO KIJAKAZI,
12          Defendant(s).
13         This case involves judicial review of administrative action by the Commissioner of Social
14 Security, denying Plaintiff’s claim for Social Security benefits. The Court recognizes that many
15 of these cases have a number of factors in common:
16         1.       Such cases rarely, if ever, require proceedings in the nature of a trial. Instead, these
17 cases are usually resolved by cross-motions to reverse or remand and to affirm the Commissioner’s
18 decision.
19         2.       Sometimes the plaintiff submits new medical reports to the court in support of a
20 request for remand at such a late date in the proceedings as to cause an unnecessary and undesirable
21 delay in the rendering of a decision by the court.
22         3.       The transcript of the evidence adduced at the administrative hearing frequently
23 contains the words “inaudible” or “unintelligible” in some places, and the administrative record
24 sometimes contains documents which are illegible. These parts of the administrative record may
25 or may not relate to the question of whether the Commissioner’s decision is supported by
26 substantial evidence.
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                 Case 2:21-cv-00556-NJK Document 29 Filed 10/12/21 Page 2 of 5




 1          THEREFORE, IT IS ORDERED:
 2          1.       In the event Plaintiff intends to request a remand of this case on the basis of new
 3 medical evidence, Plaintiff shall, within thirty (30) days of the filing of this Order, file a motion to
 4 remand in this Court based on new evidence. The new evidence shall be attached to the motion.
 5 A copy of the motion and medical evidence shall be served on:
 6                   United States Attorney
                     501 Las Vegas Boulevard South, Suite 1100
 7                   Las Vegas, NV 89101
 8          2.       In the event Plaintiff files a motion for remand on the basis of new evidence,
 9 Defendant shall have thirty (30) days from the date of service of such motion to file either a notice
10 of voluntary remand of the case or points and authorities in opposition to Plaintiff’s motion. If
11 Defendant files points and authorities in opposition, Plaintiff shall have twenty (20) days from the
12 date of service of such points and authorities to file a reply.
13          3.       Pursuant to 42 U.S.C. § 405(g), remand for reconsideration of new evidence will
14 not be granted unless the evidence is new and material and there is a showing of good cause for
15 failure to incorporate the evidence into the record at an earlier stage. Therefore, if Plaintiff seeks
16 remand for consideration of new evidence, the motion shall include a statement of reasons why
17 the new evidence was not incorporated into the record at an earlier stage.
18          4.       In the event Plaintiff does not file a motion to remand on the basis of new medical
19 evidence, Plaintiff shall, within thirty (30) days of this Order, file with this court a motion for
20 reversal and/or remand.
21          5.       Whenever Plaintiff files a motion for reversal and/or remand, which includes issues
22 based on the administrative record, Plaintiff’s motion shall include:
23                   a.     A specification of each and every condition or ailment, or combination
24          thereof, that allegedly renders Plaintiff disabled and is allegedly supported by evidence
25          contained in the administrative record.
26                   b.     A complete summary of all medical evidence in the record that supports
27          Plaintiff’s claim of disability due to each condition or ailment specified in subparagraph 6a
28          above, with precise references to the applicable portions of the record. This summary shall

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                Case 2:21-cv-00556-NJK Document 29 Filed 10/12/21 Page 3 of 5




 1         not include medical evidence unrelated to the conditions or ailments upon which Plaintiff’s
 2         claim or claims of disability are based. It shall be sufficient compliance with this
 3         subparagraph if Plaintiff shall stipulate that the Administrative Law Judge fairly and
 4         accurately summarized the evidence contained in the administrative record.
 5                  c.     A complete summary of all medical evidence in the record that supports
 6         Plaintiff’s claim of disability due to each condition or ailment specified in subparagraph 6a
 7         above, with precise references to the applicable portions of the record. This summary shall
 8         not include medical evidence unrelated to the conditions or ailments upon which Plaintiff’s
 9         claim or claims of disability are based. It shall be sufficient compliance with this
10         subparagraph if Plaintiff shall stipulate that the Administrative Law Judge fairly and
11         accurately summarized the evidence adduced at the administrative hearing.
12                  d.     With respect to each condition or ailment specified in subparagraph 5a
13         above, a complete but concise statement as to why the record does not contain substantial
14         evidence to support Defendant’s conclusion that Plaintiff is not disabled by each such
15         condition or ailment, or combination thereof.
16         6.       If Defendant has not filed a notice of voluntary remand and the issues in question
17 relate to the administrative record, Defendant, within thirty (30) days after being served with
18 Plaintiff’s motion for reversal and/or remand, shall file a cross-motion to affirm which will be
19 considered an opposition to Plaintiff’s motion. This motion shall include:
20                  a.     With respect to each disabling condition or ailment specified by Plaintiff,
21         a complete summary of all medical evidence in the record that Defendant contends
22         constitutes substantial evidence to support the administrative determination that Plaintiff
23         is not entitled to the benefits in question. This summary shall not include medical
24         evidence unrelated to conditions or ailments upon which Plaintiff’s claim or claims of
25         disability are based. It shall be sufficient compliance with this subparagraph if Defendant
26         shall stipulate that the Administrative Law Judge fairly and accurately summarized the
27         evidence contained in the record.
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                Case 2:21-cv-00556-NJK Document 29 Filed 10/12/21 Page 4 of 5




 1                  b.     With respect to each disabling condition or ailment specified by Plaintiff,
 2         a complete summary of all testimony adduced at the administrative hearing, including the
 3         Administrative Law Judge’s findings, if any, concerning the credibility of witnesses,
 4         which Defendant contends constitutes substantial evidence to support the administrative
 5         determination that Plaintiff is not entitled to the benefits in question. It shall be sufficient
 6         compliance with this subparagraph if Defendant shall stipulate that the Administrative
 7         Law Judge fairly and accurately summarized the testimony adduced at the administrative
 8         hearing.
 9                  c.     A statement as to whether there are any inaccuracies in the summaries
10         filed by Plaintiff. If Defendant believes Plaintiff’s summaries are inaccurate, Defendant
11         shall set forth what additions or corrections are required (with appropriate references to
12         the record) in order to make the summaries accurate.
13                  d.     The lay definitions of all medical terms contained in the record necessary
14         to be understood in order to determine whether Defendant’s decision is supported by
15         substantial evidence.
16         7.       The motions filed by Plaintiff and Defendant pursuant to paragraphs 5 and 6 of this
17 Order, respectively, shall also contain appropriate points and authorities dealing with the specific
18 legal issues involved in this case, rather than principles of law applicable to Social Security cases
19 in general.
20         8.       Plaintiff shall be deemed to have acceded to the accuracy of the summaries supplied
21 by Defendant in response to subparagraphs 6a and 6b of this Order, and to all definitions of medical
22 terms supplied by Defendant with respect to subparagraph 6d of this Order, unless within twenty
23 (20) days after being served with Defendant’s motion to affirm Plaintiff shall file and serve a
24 document setting forth:
25                  a.     In what manner the summaries are inaccurate;
26                  b.     What additions or corrections are required (with appropriate references to
27         the record) in order to make the summaries accurate; and/or
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                Case 2:21-cv-00556-NJK Document 29 Filed 10/12/21 Page 5 of 5




 1                  c.     Any definitions of the medical terms that Plaintiff contends are more
 2         accurate than the definitions supplied by Defendant.
 3         9.       The motions filed by both Plaintiff and Defendant shall also contain the following:
 4                  a.     A statement as to whether the transcript of the administrative hearing can
 5         be adequately comprehended in spite of the fact that such transcript may contain the words
 6         “inaudible” or “unintelligible” in one or more places, and specifying each page, if any, in
 7         which testimony relating to the particular issues of this case cannot be adequately
 8         comprehended.
 9                  b.     A specification of each page in the administrative record that is partially or
10         totally illegible, and a statement as to whether each such illegible page contains information
11         relevant to an understanding of any issue presented in this case.
12         10.      Oral argument shall be deemed waived and the case shall stand submitted unless
13 argument is ordered by the Court or requested, pursuant to Local Rule 78-1, by one of the parties
14 within ten (10) days following the filing of the last document required by this Court. Even if one
15 or both of the parties requests oral argument, the final decision as to whether oral argument is
16 warranted remains with the Court.
17         11.      Failure of a party to file a motion or points and authorities required by this Order
18 may result in dismissal of the action or reversal of the decision of the Commissioner of Social
19 Security.
20         IT IS SO ORDERED.
21         Dated: October 12, 2021
22                                                                ______________________________
                                                                  Nancy J. Koppe
23                                                                United States Magistrate Judge
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